






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00581-CR






William Fredrick Oliver, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. 9044055, HONORABLE BOB PERKINS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N




William Fredrick Oliver seeks to appeal from a judgment of conviction for possession
of cocaine.  The trial court has certified, and the record confirms, that this is a plea bargain case and 
has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The appeal is dismissed.  See id. rule 25.2(d).



				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Dismissed for Want of Jurisdiction

Filed:   October 14, 2004

Do Not Publish


